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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
                                    MINUTES



Judge: BRIAN R. MARTINOTTI                           Date: 07/07/2022
Court Reporter: NICOLE SESTA (Stand-by only)         Docket No: 19-888-02


Title of the Case:

UNITED STATES OF AMERICA
v.                                                                          \
FAROUK LAZIZI

Appearances:

Anthony Torntore, AUSA
Anthony Thomas, AFPD for Defendant Farouk Lazizi

Nature of Proceedings:

Attorneys only conference held
Update provided
S/C set 12/01/22 at 1:30 pm
Jury Trial set 01/17/2023 @ 9:30 am

                                       Lissette Rodriguez
                                       Lissette Rodriguez, Courtroom Deputy
                                       to the Honorable Brian R. Martinotti, U.S.D.J.

Commenced: 12:35 pm
Concluded: 12:45 pm
